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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CASE NO. 15-CV-07433-RWS

en x
VIRGINIA L. GIUFFRE,
Plaintiff,
Vv.
GHISLAINE MAXWELL,
Defendant.
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June 21, 2016
9:17 a.m.

CONFIDENTIAL
Deposition of JOSEPH RECAREY, pursuant
to notice, taken by Plaintiff, at the

offices of Boies Schiller & Flexner, 401

Page 1

Las Olas Boulevard, Fort Lauderdale, Florida,

before Kelli Ann Willis, a Registered
Professional Reporter, Certified Realtime
Reporter and Notary Public within and

for the State of Florida.

 

 

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JOSEPH RECAREY - CONFIDENTIAL
Ghislane Maxwell?
A. I wanted to speak with everyone related to

this home, including Ms. Maxwell. My contact was
through Gus, Attorney Gus Fronstin, at the time, who
initially had told me that he would make everyone
available for an interview. And subsequent
conversations later, no one was available for
interview and everybody had an attorney, and I was
not going to be able to speak with them.

Q. Okay. During your investigation, what did
you learn in terms of Ghislane Maxwell's
involvement, if any?

MR. PAGLIUCA: Object to form and
foundation.

THE WITNESS: Ms. Maxwell, during her
research, was found to be Epstein's long-time
friend. During the interviews, Ms. Maxwell was
involved in seeking girls to perform massages
and work at Epstein's home.

MR. PAGLIUCA: Object to form and
foundation.

BY MR. EDWARDS:
Q. Did you interview -- how many girls did

you interview that were sought to give or that

 

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JOSEPH RECAREY ~ CONFIDENTIAL

I guess I'll start with where it says on 4/4/2005, I
just want to ask you, was a voice mail message taken
into evidence from HR to SG?

A. Yes.

Q. Okay. And the purpose of that evidence is
to corroborate what?

MR. PAGLIUCA: Object to form and
foundation.

THE WITNESS: It was actually a phone call
from HR to SG confirming an appointment to go
work at Epstein's residence,

BY MR. EDWARDS:
Q. The next line down is what I wanted to
focus on, April 5th, 2005.

This trash pull, what evidence is yielded

from this particular trash pull?

MR. PAGLIUCA: Object to form and
foundation.

THE WITNESS: The trash pull indicated
that there were several messages with written
items on it. There was a message from HR
indicating that there would be an 11:00
appointment. There were other individuals that

had called during that day.

 

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JOSEPH RECAREY - CONFIDENTIAL
BY MR. EDWARDS:

QO. And when you would -- when you would see
females' names and telephone numbers, would you take
those telephone numbers and match it to -- toa
person?

MR. PAGLIUCA: Object to form and
foundation.
THE WITNESS: We would do our best to
identify who that person was.
BY MR. EDWARDS:

Q. And is that one way in which you
discovered the identities of some of the other what
soon came to be known as victims?

MR. PAGLIUCA: Object to form and
foundation.
THE WITNESS: Correct.
BY MR. EDWARDS:

Q. Okay. There's the second paragraph from
the bottom, it starts, "Detective Leigh provided
trash from 4/06, 4/07/2005."

Do you see that?
A. Yes.
Q. And what is the purpose of the indication

that "the following information was retrieved: Jet

 

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JOSEPH RECAREY - CONFIDENTIAL
BY MR, EDWARDS:
Q. Okay. Also reflected are the property

receipts?
MR. PAGLIUCA: Object to form and
foundation.
THE WITNESS: Correct.
BY MR. EDWARDS:
Q. All right.
And where were those taken from, in terms
of whose property is that?
MR. PAGLIUCA: Object to form and
foundation.
THE WITNESS: This would have been taken
from the home of Jeffrey Epstein,
BY MR. EDWARDS:

Q. And in reviewing that evidence, were you
able to substantiate or corroborate certain victims’
accounts of their allegations of having been at the
house?

MR. PAGLIUCA: Object to form and
foundation.
THE WITNESS: Correct,
BY MR. EDWARDS:

QO. Did you find names of other witnesses and

 

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1 JOSEPH RECAREY - CONFIDENTIAL

2 people that you knew to have been associated with
3 the house in those message pads?

4 MR, PAGLIUCA: Object to form and

foundation.
THE WITNESS: Yes.

BY MR. EDWARDS:

ao J OHO

Q. And so what was the evidentiary value to
9 you of the message pads collected from Jeffrey

10 Epstein's home in the search warrant?

11 MR, PAGLIUCA: Object to form and

12 foundation.

13 THE WITNESS: It was very important to
14 corroborate what the victims had already told
15 me as to calling in and for work.

16 BY MR. EDWARDS:

17 Q. Okay. And did you learn the identities of

18 some of the other individuals associated with
19 Jeffrey Epstein through the review of that

20 particular evidence?

21 MR. PAGLIUCA: Object to form and
22 foundation,
23 THE WITNESS: Correct.

24 BY MR. EDWARDS:

25 Q. Okay. And what did you do with that

 

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AFFIDAVIT
STATE OF FLORIDA )
COUNTY OF 5

Ty , being first
duly sworn, do hereby acknowledge that I did
read a true and certified copy of my deposition
which was taken in the case of GIUFFRE V.
MAXWELL, taken on the 24th day of September,
2016, and the corrections I desire to make are
as indicated on the attached Errata Sheet.

CERTIFICATE
STATE OF FLORIDA )
COUNTY OF )

Before me personally appeared
to me well known / known to me to be the
person described in and who executed the
foregoing instrument and acknowledged to and
before me that he executed the said instrument
in the capacity and for the purpose therein
expressed.

 

Witness my hand and official seal, this
day of '

 

(Notary Public)

My Commission Expires:

 

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